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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

  JANE DOE,                                    :
                                               :
                 Plaintiff,                    :
                                               :
          v.                                   :       Case No. 1:17-cv-00053-RGA
                                               :
  TRINITY LOGISTICS, INC.,                     :
  a Delaware corporation,                      :
                                               :
  PINKERTON CONSULTING AND                     :
  INVESTIGATIONS,                              :
  A Delaware limited liability company,        :
                                               :
                 Defendants.                   :

                                              ORDER



          This matter is before the Court on the Parties’ Stipulation of Dismissals and Consent

  Motion for Approval of Dismissals. Having considered the Parties’ Stipulation of Dismissals and

  Consent Motion for Approval of Dismissals, and for good cause shown, the Court GRANTS

  Plaintiff’s Consent Motion for Approval of Dismissals, APPROVES the terms therein, and

  ORDERS that Plaintiff’s individual claims against Defendant Pinkerton Consulting &

  Investigations, LLC are dismissed with prejudice and that Plaintiff’s proposed class claims against

  Defendant Pinkerton Consulting & Investigations, LLC are dismissed without prejudice.



                                               BY THE COURT:



  Dated: ___________                           _______________________________
                                               Honorable Richard G. Andrews
                                               Judge of United States District Court


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